        Case 2:08-cr-00784-JB          Document 192         Filed 06/17/09      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                               No. CR 08-784 JB

DAVID PASILLAS,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the United States’ Unopposed Motion for

Hospitalization of Defendant for Treatment to Restore Competency and for a Determination as to

Whether the Defendant Can Be Treated to Competency, filed May 6, 2009 (Doc. 189). The Court

held a hearing on June 10, 2009. The primary issue is whether the Court should order Defendant

David Pasillas committed to the custody of the Attorney General, to be hospitalized at a United

States Medical Center for Federal Prisoners (“FMC”) to receive treatment to restore competency and

to determine whether he can be treated to competency. Because the Court finds, by a preponderance

of the evidence, that Pasillas is presently not competent to assist properly in his defense, the Court

will order that Pasillas be committed to the custody of the Attorney General so that he can be

hospitalized to receive treatment to restore competency and to determine whether he can be treated

to competency.1

       1
          At the hearing, the United States clarified that, by its motion, it did not seek forced
medication, but only hospitalization “for treatment . . . as is necessary to determine whether there
is substantial probability that in the foreseeable future [Pasillas] will attain the capacity to permit
the proceeding to go forward . . . .” 18 U.S.C. § 4241(d)(1). Accordingly, the Court orders no more
than what the United States requests, and what the statute, upon which the United States relies,
allows.
        Case 2:08-cr-00784-JB          Document 192        Filed 06/17/09      Page 2 of 4




                               PROCEDURAL BACKGROUND

       On September 12, 2008, Pasillas underwent a psychological evaluation with Dr. Guido

Barrientos, Ph.D. Dr. Barrientos’ opinion was that Pasillas is not competent because of significant

intellectual limitations that can be considered permanent in nature. On February 24, 2009, Pasillas

underwent a second evaluation with Dr. Abraham Fiszbein, M.D. Dr. Fiszbein concluded that,

although Pasillas has a rational and factual understanding of the charges against him, he does not

presently have the ability to consult with his lawyer with a reasonable degree of rational

understanding.

       The United States requests that the Court make a provisional finding that Pasillas is not

presently competent, given his inability to consult with his lawyer with a reasonable degree of

rational understanding. The United States also asks that the Court revoke Pasillas’ conditions of

release and that Pasillas be committed to the custody of the Attorney General, at an FMC for a

period not to exceed four months, to be hospitalized for treatment and to determine whether there

is a substantial probability that Pasillas will attain competency in the foreseeable future.

       Doug Jones-Witt, Pasillas’ attorney, does not oppose the United States’ motion.

                                            ANALYSIS

       After a hearing conducted pursuant to 18 U.S.C. § 4247(d), if

       the court finds, by a preponderance of the evidence that the defendant is presently
       suffering from a mental disease or defect rendering him mentally incompetent to the
       extent that he is unable to understand the nature and consequences of the proceedings
       against him or to assist properly in his defense, the court shall commit the defendant
       to the custody Attorney General. The Attorney General shall hospitalize the
       defendant for treatment in a suitable facility . . . .

18 U.S.C. § 4241(d). Such hospitalization must be “for such a reasonable period of time, not to

exceed four months, as is necessary to determine whether there is a substantial probability that in


                                                 -2-
        Case 2:08-cr-00784-JB          Document 192        Filed 06/17/09      Page 3 of 4




the foreseeable future [the defendant] will attain the capacity to permit the proceedings to go

forward . . . .” Id. § 4241(d)(1).

       At the hearing, the Court noted that all parties agree that Pasillas needs to be committed to

the custody of the Attorney General for a period not to exceed four months for a competency

evaluation. The Court also believes that Pasillas needs to be committed for a competency

evaluation. The Court finds, by a preponderance of the evidence, that, at the present time, Pasillas

does not appear to be capable of assisting his counsel in the defense of the charges against him. The

Court will therefore order that Pasillas’ conditions of release be revoked and that he be committed

to the Attorney General’s custody for a period not to exceed four months. The Court will also allow

Pasillas to self-surrender to the custody of the United States Marshals.

       The Court orders that Pasillas will surrender himself into the Marshals’ custody on June 24,

2009, which is two weeks from the date on which the hearing was held. On that date, Pasillas must

present himself to the Marshals in Roswell. From there, the Marshals will transport him to the

facility where he will be evaluated.

       IT IS ORDERED that the United States’ Unopposed Motion for Hospitalization of

Defendant for Treatment to Restore Competency and for a Determination as to Whether the

Defendant Can Be Treated to Competency is granted. Defendant David Pasillas shall surrender

himself to the United States Marshals in Roswell, New Mexico, on June 24, 2009.




                                                              _______________________________
                                                              UNITED STATES DISTRICT JUDGE




                                                -3-
            Case 2:08-cr-00784-JB     Document 192   Filed 06/17/09   Page 4 of 4




Counsel:

Gregory J. Fouratt
 United States Attorney
Albuquerque, New Mexico

-- and --

Renee L. Camacho
 Assistant United States Attorney
Las Cruces, New Mexico

        Attorneys for the Plaintiff

S. Doug Jones Witt
Ruidoso, New Mexico

        Attorneys for the Defendant




                                             -4-
